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 7
 8                        UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10
11
      Dominquea Johnson,                       Case No.
12
13                Plaintiff,                   Complaint for Injunctive Relief
                                               and Damages for Violation of:
14       v.
15                                             1. Title II of the American’s With
16
      City of Whittier,                           Disabilities Act, 42 U.S.C.
                                                  §12131 et seq.;
17                Defendant.                   2. Unruh Civil Rights Act, Cal.
18                                                Civ. Code § 51; and
                                               3. California’s Disabled Persons
19
                                                  Act, Cal. Civ. Code § 54.
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24
25            Plaintiff Dominquea Johnson complains of Defendant City of Whittier
26    and alleges as follows:
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      Complaint
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 1                                  INTRODUCTION
 2           1.    Plaintiff Dominquea Johnson (“Plaintiff”), an individual with
 3    physical disabilities who uses a wheelchair for mobility, brings the instant
 4    action alleging that Defendant City of Whittier (“City” or “Defendant”) has
 5    discriminated against her on the basis of her disability in violation of federal
 6    and state anti-discrimination statutes.
 7           2.    Specifically, Plaintiff alleges that Defendant has failed and/or
 8    refused to properly construct, alter, and/or maintain the public facilities of
 9    Kennedy Park, located at 8530 Painter Avenue, in the City of Whittier,
10    California (“Park”), such that the facilities are inaccessible to, and unusable
11    by her as a person with physical disabilities.
12           3.    As a result of Defendant’s failure to ensure the accessibility of
13    the public facilities at the Park, Plaintiff has been, and will continue to be,
14    denied full and equal access to Defendant’s programs, services, and activities,
15    all to her damage.
16           4.    Through this lawsuit, Plaintiff seeks an injunction requiring
17    Defendant to provide her “full and equal” access to the public facilities at the
18    Park as required by law. Plaintiff also seeks damages and reasonable
19    attorneys’ fees, costs, and litigation expenses for enforcing her civil rights.
20
21                                       PARTIES
22           5.    Plaintiff Dominquea Johnson is, and at all times relevant herein
23    was, an individual and resident of the State of California.
24           6.    Defendant City of Whittier is, and at all times relevant herein
25    was, a political subdivision of the State of California.
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 1                              JURISDICTION & VENUE
 2           7.     This Court has subject matter jurisdiction over this action
 3    pursuant to 28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the
 4    ADA.
 5           8.     Pursuant to pendant jurisdiction, attendant and related causes of
 6    action, arising from the same transactions and nucleus of operative fact are
 7    brought under California’s Unruh Civil Rights Act (“Unruh Act”) and
 8    Disabled Persons Act (“CDPA”), both of which expressly incorporate the
 9    ADA. Cal. Civ. Code §§ 51(f), 54(c) and 54.1(d).
10           9.     Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and
11    is founded on the fact that the real property which is the subject of this action
12    is located in this district and that Plaintiff's cause of action arose in this district.
13
14                              FACTUAL ALLEGATIONS
15           10.    Kennedy Park is a public park located at 8530 Painter Avenue,
16    in the City of Whittier, California.
17           11.    The Park provides amenities including barbecues, outdoor
18    classrooms, picnic tables, play equipment and restrooms.
19           12.    The Park and its related public facilities are owned, operated, and
20    maintained by Defendant City of Whittier.
21           13.    The City is responsible for the operation and maintenance of the
22    facilities of the Park, as well as for the sidewalks, curbs and streets
23    surrounding the Park.
24           14.    The facilities of the Park are available for rent from the City’s
25    Department of Parks, Recreation and Community Services for a monetary fee.
26    See:
27    https://www.whittierprcs.org/Home/Components/FacilityDirectory/FacilityD
28    irectory/30/1898


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 1           15.   Plaintiff is an individual with physical impairments that
 2    substantially limit her mobility.
 3           16.   Plaintiff is unable to stand or walk due and uses a wheelchair for
 4    mobility.
 5           17.   In order for Plaintiff to have equal access to and use of the public
 6    facilities at the Park, those facilities must be configured to accommodate
 7    wheelchair users and maintained to be accessible.
 8           18.   In December 2021, Plaintiff moved to a home on Painter Avenue
 9    in the City of Whittier.
10           19.   The Park in within a half-mile of Plaintiff’s home.
11           20.   The Park is Plaintiff’s neighborhood park.
12           21.   Since December 2021, Plaintiff has sought to access the Park on
13    a number of occasions with her four minor nephews.
14           22.   At all times relevant herein there has been no way for Plaintiff to
15    enter the Park from the public right of way or adjacent public parking lot.
16           23.   Although there is a ramped entrance off the parking lot, that
17    entrance and route into the Park has been, and continues to be blocked by
18    fencing in two places and is unusable by wheelchair users as demonstrated by
19    the following photos.
20    //
21    //
22    //
23    //
24    //
25    //
26    //
27    //
28    //


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      Complaint
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 1    PHOTO 1: Obstructed access ramp from parking lot.
 2
 3
 4
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13                                  Insert Photos
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15    PHOTO 2: Obstructed route into Park.
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 1           24.   Other entry points to the Park are inaccessible due to the presence
 2    of stairs and rocks, as illustrated by the following three photos.
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      Complaint
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15           25.     Plaintiff first encountered the barriers to entering the Park on
16    January 19, 2022. Plaintiff traveled around the perimeter of the Park and
17    discovered there was no way for her to enter using her wheelchair. At the time,
18    Plaintiff thought that the fencing blocking the accessible entrance might be
19    temporary, so she went home. Over the course of the following seven weeks,
20    Plaintiff passed the Park on a number of occasions, but the fencing and other
21    barriers to entry remained. Plaintiff was deterred from visiting the Park during
22    this period.
23           49.     On March 14, 2022, Plaintiff took her nephews to the Park, as
24    they wanted to run around and play on the Park’s play structure. Plaintiff was
25    unable to enter the Park in her wheelchair due to the continuing presence of
26
      fencing that blocked the access ramp and accessible entrance to the Park, and
27
      the stairs and rocks obstructing any other possible site arrival point. Plaintiff
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 1    remained parked on the public sidewalk while her nephews entered the Park
 2    to play. This was embarrassing and frustrating to Plaintiff.
 3           50.   Claimant visited the Park on other occasions with her nephews,
 4
      including March 23, 2022, and April 1, 2022. Again, Plaintiff was prevented
 5
      from entering the Park due to the presence of fencing, stairs and rocks
 6
      obstructing the accessible entrance and all site arrival points. Again, Plaintiff
 7
      sat parked on the sidewalk in her wheelchair, embarrassed and frustrated,
 8
      while her nephews played in the Park.
 9
             51.   On April 12, 2022, Plaintiff’s complaints were investigated and
10
11
      the barriers she encountered were confirmed.

12           52.   On May 5, 2022, Plaintiff, by and through counsel, submitted a
13    request for reasonable accommodation to the City.
14           53.   In her reasonable modification request, Plaintiff put the City on
15    notice of the barriers she had personally encountered when trying to enter and
16    access the Park and described how those barriers affected her.
17           54.   In her reasonable modification request, Plaintiff also put the City
18    on notice of the following additional access barriers, all of which would need
19
      to be remediated for her to be able to access and use the facilities of the Park:
20
                      a. None of the picnic tables are on an accessible route.
21
                          Reaching the picnic tables requires a wheelchair user to
22
                          traverse soft, loose, ground surfaces that are neither stable,
23
                          firm nor slip-resistant.
24
                      b. Barbeques, trash receptacles and recycling bins within the
25
26
                          site are inaccessible to wheelchair users as they are not on

27                        an accessible route. Reaching all of these amenities
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 1                        requires a wheelchair user to traverse soft, loose, ground
 2                        surfaces that are neither stable, firm nor slip-resistant.
 3                     c. On information and belief, none of the picnic tables are
 4
                          wheelchair accessible. Specifically, the picnic tables do
 5
                          not provide sufficient knee and toe clearances.
 6
             55.   In her reasonable modification request Plaintiff asked the City
 7
      to: (1) retain a Certified Access Specialist (“CASp”) to inspect the public
 8
      facilities of the Park -- including but not limited to site arrival points, walking
 9
      paths and surfaces, parking, picnicking areas, restrooms, and playgrounds --
10
11
      and make recommendations as necessary to remediate the facilities and make

12    them accessible as required by law; and (2) implement the recommendations
13    of the CASp.
14           56.   The City has neither acknowledged nor responded to Plaintiff’s
15    reasonable modification request.
16           57.   On June 22, 2022, Plaintiff again visited the Park, in part to see
17    if the accessibility barriers that she had complained about had been removed.
18    Plaintiff was frustrated and disappointed to find that he barriers to entry were
19
      still present, preventing her from accessing or using the Park.
20
             58.   The City’s failure to provide and maintain an accessible route
21
      into the Park has caused Plaintiff difficulty, discomfort, and embarrassment.
22
             59.   The City’s failure to provide and maintain an accessible route
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      into the Park has forced Plaintiff to remain on the sidewalk while her nephews
24
      enter and play in the Park. These experiences have made Plaintiff feel
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26
      conspicuous and unwelcome in her own community.

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 1             60.    The City’s failure to provide and maintain an accessible route
 2      into the Park has prevented Plaintiff from being able to access, use and enjoy
 3      the amenities of the Park, and deter her from visiting the Park.
 4
               61.    The City’s failure to ensure the accessibility of other amenities
 5
        of the Park, including but not limited to the picnic tables, barbeques, trash
 6
        receptacles and recycling bins, prevent Plaintiff from having full and equal
 7
        access to the Park.
 8
               62.    On information and belief there are additional accessibility
 9
        barriers at the Park that relate to Plaintiff’s disability and preclude her from
10
11
        having full and equal access to the Park.

12             63.    On information and belief, all of the above-described barriers
13      still exist at the Park.
14             64.    Plaintiff plans to return to the Park, both on her own and with her
15      family as soon as the accessibility barriers are remediated. Plaintiff plans to
16      visit the Park on weekends to relax, barbeque, and watch her nephews play on
17      the play structure.
18             65.    On information and belief, the facilities at the Park have
19      undergone construction and/or alteration since January 1, 1982, triggering
20      applicability of California accessibility standards, California Code of
21      Regulations, Title 24. Plaintiff is informed and believes, and on that basis
22      alleges that Defendant has failed to comply with these standards.
23             66.    On information and belief, the facilities at the Park have
24      undergone construction and/or alterations since January 26, 1992, triggering
25      applicability of ADA Standards for Accessible Design (ADA Standards), 28
26      C.F.R. pt. 36, app. D. Plaintiff is informed and believes, and on that basis
27      alleges that Defendant has failed to comply with these standards.
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 1              67.    On information and belief, Defendant has no policies in place to
 2      ensure that the facilities of their public parks are constructed, altered and/or
 3      maintained to be accessible to and usable by people with disabilities who use
 4      wheelchairs.
 5              68.    Until the barriers to accessibility that exist at the Park are
 6      removed and Defendant’s unlawful and discriminatory policies and practices
 7      regarding the construction, alteration and/or maintenance of its public parks
 8      are modified, Plaintiff will continue to be denied full and equal access to and
 9      use of the Park and will suffer ongoing discrimination and damages as a result.
10              69.    The nature of Defendant’s discrimination constitutes a
11      continuing violation, and unless enjoined by this Court, will result in ongoing
12      and irreparable injury to Plaintiff.
13              70.    Plaintiff has no adequate remedy at law because monetary
14      damages, which may compensate for past unlawful conduct will not afford
15      adequate relief for the harm caused by the ongoing and continuous wrongful
16      conduct of Defendant and the resulting denial of Plaintiff’s civil rights as
17      herein alleged. Accordingly, Plaintiff is entitled to injunctive relief.
18
19                                GOVERNMENT CLAIM
20            (With regard to claims for damages under California State Law)
21              71.    Plaintiff timely filed a claim pursuant to § 910 et seq. of the
22      California Government Code with the City on or about May 5, 2022.
23              72.    The City acknowledged receipt of Plaintiff’s government claim
24      via a letter from James Hirsh, Senior Claims Representative, dated May 13,
25      2022.
26
                73.    There has been no further communication from the City
27
        regarding Plaintiff’s government claim. As such, Plaintiff’s government claim
28
        has been rejected as a matter of law. See Cal. Gov’t Code § 911.6(c).

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 1                              FIRST CAUSE OF ACTION
 2                     Title II of the Americans with Disabilities Act
 3                                 42 U.S.C. § 12131 et seq.
 4             74.   Plaintiff re-pleads and incorporates by reference the allegations
 5      contained in each of the foregoing paragraphs.
 6             75.   Title II of the Americans with Disabilities Act (“ADA”) provides
 7      in pertinent part: “[N]o qualified individual with a disability shall, by reason
 8      of such disability, be excluded from participation in or be denied the benefits
 9      of the services, programs, or activities of a public entity, or be subjected to
10      discrimination by any such entity.” 42 U.S.C. § 12132.
11             76.   Plaintiff is, and at all times relevant herein was, a person with a
12      “disability” within the meaning of the ADA. 42 U.S.C. § 12102.
13             77.   The City is a public entity within the meaning of the ADA. 42
14      U.S.C. § 12131(1).
15             78.   The City has fifty (50) or more employees.
16             79.   The provision, operation, and maintenance of the Park for the
17      benefit of the public is a program, service, and/or activity of the City.
18             80.   Plaintiff is, and at all times relevant herein was, a “qualified
19      individual with a disability” within the meaning of Title II of the ADA. 42
20      U.S.C. § 12131(2). As a member of the public, Plaintiff meets the essential
21      eligibility requirements for the use of the public facilities of the Park.
22             81.   Under Title II of the ADA Defendant was required to conduct a
23      self-evaluation of its services, policies, and practices, and the effects thereof,
24      by no later than January 26, 1993. 28 C.F.R. § 35.105(a). On information and
25      belief, as of the date of the filing of this Complaint, Defendant has failed to
26      conduct a self-evaluation of its services, policies, and facilities at the Park.
27             82.   Under Title II of the ADA Defendant was required to develop a
28      transition plan setting forth the steps necessary to complete the structural


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 1      changes necessary to achieve program accessibility at the Park within six
 2      months of January 26, 1992. 28 C.F.R. § 35.150(d)(1). On information and
 3      belief, as of the date of the filing of this Complaint, Defendant has failed to
 4      develop a transition plan setting forth the steps necessary to complete the
 5      structural changes necessary to achieve program accessibility at the Park.
 6             83.    Under Title II of the ADA Defendant was required to remove
 7      physical barriers that limit or deny people with disabilities access to its
 8      programs, services, and activities by no later than January 26, 1995. 28 C.F.R.
 9      § 35.150(c). On information and belief, Defendant has failed, since the ADA
10      was enacted and every year thereafter, to take appropriate measures to identify
11      and remove barriers to the Park.
12             84.    Under Title II of the ADA, Defendant has an affirmative and
13      ongoing obligation to operate the Park’s public facilities so that they are
14      “readily accessible to and usable by individuals with disabilities” (28 C.F.R.
15      § 35.150(a)). In acting as herein alleged, Defendant has failed and refused to
16      fulfill this obligation.
17             85.    Under Title II of the ADA, Defendant has an affirmative
18      obligation to design, construct, and/or alter the public facilities at the Park in
19      a manner such that they are readily accessible to and usable by individuals
20      with disabilities, when the construction or alteration was commenced after
21      January 26, 1992. 28 C.F.R. § 35.151. In acting as herein alleged, Defendant
22      has failed and refused to fulfill this obligation.
23             86.    Under the ADA’s accessibility standards, at least one accessible
24      route be provided within a site from accessible parking spaces and accessible
25      passenger loading zones; public streets and sidewalks; and public
26      transportation stops to the accessible building or facility entrance they serve.
27      ADA Standard 206.2.2. As described herein, Defendant does not provide such
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 1      a route at and into the Park. Site arrival points are obstructed by fencing, rocks,
 2      and steps.
 3             87.    Under the ADA’s accessibility standards, at least one accessible
 4      route connect accessible buildings, accessible facilities, accessible elements,
 5      and accessible spaces that are on the same site. ADA Standard 206.2.2.
 6      Walking surfaces that are part of an accessible route must be stable, firm and
 7      slip resistant. ADA Standard 403.2; 302.1. As described herein, Defendant
 8      does not provide accessible walking surfaces to connect the various elements
 9      within the Park. The picnic tables, barbeques, trash receptacles and recycling
10      bins at the Park are only reachable by traversing soft, loose, ground surfaces
11      that are neither stable, firm nor slip-resistant.
12             88.    Under the ADA Standards, dining surfaces provided for the
13      consumption of food and drink must be accessible and dispersed thru-out the
14      site. ADA Standards 902.2; 902.3; 305; 306; 226.1; 226.2. On information
15      and belief, Defendant does not provide any accessible dining surfaces at the
16      Park. On information and belief, all the picnic tables provided lack required
17      knee and toe clearances.
18             89.    Under Title II of the ADA, Defendant has an affirmative and
19      ongoing obligation to maintain in operable working condition those features
20      of the Park that are required to be readily accessible to and usable by persons
21      with disabilities. 28 C.F.R. § 35.133(a). In acting as herein alleged, Defendant
22      has failed to maintain the facilities of the Park so that they are accessible to
23      and usable by people with disabilities who use wheelchairs, including
24      Plaintiff. The Parks site arrival points are obstructed by fencing, rocks and
25      steps, and its picnic tables, barbeques, trash receptacles and recycling bins are
26      all on walking surfaces that have not been maintained in stable, firm and slip
27      resistant condition.
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 1             90.   Although the City’s maintenance obligations do not prohibit
 2      “isolated or temporary interruptions in service or access due to maintenance
 3      or repairs,” 28 C.F.R. § 35.133(b), that is not the situation at the Park. There
 4      is no evidence that the obstruction to the accessible site arrival point is due to
 5      maintenance or repair. Moreover, the obstruction has persisted for over half a
 6      year. Notably, only disabled access to the Park has been obstructed; the Park
 7      and its facilities remain open to, accessible to, and usable by, non-disabled
 8      members of the public.
 9             91.   Under Title II of the ADA, Defendant is required to make
10      reasonable modifications in policies, practices, or procedures where necessary
11      to avoid discrimination against individuals on the basis of their disability. 28
12      C.F.R. § 35.130(b)(7). Defendant violated Plaintiff’s right to reasonable
13      modification when it failed and refused to act on Plaintiff’s May 5, 2022,
14      reasonable modification request.
15             92.   Defendant’s acts and omissions as herein alleged have excluded
16      and/or denied Plaintiff the benefit and use of the public facilities at the Park,
17      in violation of Title II and its implementing regulations and standards. In
18      addition to the violations described above, Defendant’s discriminatory
19      conduct includes, inter alia:
20                       a. Denying Plaintiff the opportunity to participate in or
21                          benefit from the aids, benefits, or services offered at the
22                          Park, on the basis of his disabilities (28 C.F.R. §
23                          35.130(b)(1)(i));
24                       b. Affording Plaintiff an opportunity to participate in or
25                          benefit from the aids, benefits, or services offered at the
26                          Park that is not equal to that afforded his non-disabled
27                          peers (28 C.F.R. § 35.130(b)(1)(ii));
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 1                      c. Otherwise limiting Plaintiff in the enjoyment of any right,
 2                          privilege, advantage, or opportunity enjoyed by others
 3                          receiving the aids, benefits, or services offered at the Park
 4                          (28 C.F.R. § 35.130(b)(1)(vii));
 5                      d. Utilizing methods of administration that have the effect of
 6                          subjecting Plaintiff to discrimination on the basis of her
 7                          disability (28 C.F.R. § 35.130(b)(3)(i)); and
 8             93.   Defendant’s duties under Title II of the ADA pertaining to the
 9      accessibility of the Park are affirmative, ongoing, mandatory, and long-
10      established. Defendant had knowledge of its duties at all times relevant herein;
11      its failure to carry out said duties as alleged herein was a willful and knowing
12      decision and choice, and/or the product of deliberate indifference.
13             94.   Defendant was provided actual notice of the barriers at the Park;
14      the impact those barriers have on Plaintiff; and its duty to remove such barriers
15      under Title II of the ADA. Despite this knowledge, Defendant failed and
16      refused to take any steps to remove the barriers or otherwise address Plaintiff’s
17      concerns and reasonable modification request. Defendant’s failures in this
18      regard constitute deliberate indifference.
19             95.   Pursuant to 42 U.S.C. §§ 12133 and 12205, Plaintiff prays for
20      judgment as set forth below.
21
22
23                            SECOND CAUSE OF ACTION
24                                 Unruh Civil Rights Act
25                            California Civil Code § 51 et seq.
26             96.   Plaintiff re-pleads and incorporates by reference the allegations
27      contained in each of the foregoing paragraphs.
28             97.   The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,


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 1      that persons with disabilities are entitled to full and equal accommodations,
 2      advantages, facilities, privileges, or services in all business establishments of
 3      every kind whatsoever within the jurisdiction of the State of California. Cal.
 4      Civ. Code § 51(b).
 5             98.   By the Unruh Act’s express terms, which incorporate the ADA,
 6      it applies to public entities. See Cal. Civ. Code § 51(f) (“A violation of the
 7      right of any individual under the federal Americans with Disabilities Act of
 8      1990 (Public Law 101-336) shall also constitute a violation of this section.”)
 9             99.   A violation of the ADA is a per se violation of the Unruh Act.
10      Cal. Civ. Code § 51(f).
11             100. Plaintiff is, and at all times relevant herein was, a “physically
12      disabled person” as that term is defined under California law, Cal. Gov. Code
13      § 12926.
14             101. The City is a “business establishment” for purposes of the Unruh
15      Act in this instance. The City has engaged in behavior involving “businesslike
16      attributes” in that it rents out the facilities of the Park to members of the public
17      for monetary gain. As such, Defendant must operate the facilities of the Park
18      in a manner that complies with the provisions of the Unruh Civil Rights Act,
19      Cal. Civ. Code § 51 et seq.
20             102. Defendant has violated the Unruh Act by, inter alia, denying, or
21      aiding or inciting the denial of, Plaintiff’s right to full and equal
22      accommodations, advantages, facilities, privileges, or services at the Park.
23             103. Defendant has also violated the Unruh Act by denying, or aiding
24      or inciting the denial of, Plaintiff’s rights to equal access arising from the
25      provisions of the ADA. See Plaintiff’s First Cause of Action.
26             104. Defendant’s duties under the Unruh Act pertaining to the
27      accessibility of the Park are affirmative, ongoing, mandatory, and long-
28      established. Defendant has knowledge of their duties at all times relevant


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 1      herein; its failure to carry out said duties as alleged herein was a willful and
 2      knowing decision and choice, and/or the product of deliberate indifference.
 3             105. Defendant was provided actual notice of the barriers to the Park
 4      and its discriminatory policies; the impact those barriers and discriminatory
 5      policies have on Plaintiff; and its duty to remove and modify such barriers and
 6      policies under the Unruh Act and related federal and state laws. Despite this
 7      knowledge, Defendant has failed and refused to take any steps to remove the
 8      barriers, modify their policies or otherwise address Plaintiff’s concerns or
 9      reasonable modification requests. Defendant’s failures in this regard
10      constitute deliberate indifference.
11             106. Pursuant to the remedies, procedures, and rights set forth in Cal.
12      Civ. Code §52, Plaintiff prays for judgment as set forth below.
13
14                            California Disabled Persons Act
15                                California Civil Code § 54
16                      (Statutory damages and attorneys’ fees only)
17             107. Plaintiff re-pleads and incorporates by reference the allegations
18      contained in each of the foregoing paragraphs.
19             108. The Disabled Persons Act (“CDPA”) provides that “[i]ndividuals
20      with disabilities or medical conditions have the same right as the general
21      public to the full and free use of the streets, highways, sidewalks, walkways,
22      public buildings, ..., public facilities, and other public places.” Cal. Civ. Code
23      § 54(a).
24             109. The CDPA also provides that “[i]ndividuals with disabilities
25      shall be entitled to full and equal access, as other members of the general
26      public, to accommodations, advantages, facilities, … and privileges of all …
27      places of public accommodation, amusement, or resort, and other places to
28      which the general public is invited.”


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        Complaint
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 1             110. A violation of the ADA constitutes a violation of the CDPA. Cal.
 2      Civ. Code §§ 54(c) and 54.1(d).
 3             111. Defendant’s acts and omissions, described herein, violate the
 4      rights of Plaintiff under the CDPA. Among other things, Defendant failed to
 5      ensure that those of its public facilities constructed or altered after December
 6      1981 conformed to the standards contained in California Code of Regulations,
 7      Title 24.
 8             112. Defendant has also violated the CDPA by violating the ADA.
 9             113. Defendant’s duties under the CDPA are mandatory and long-
10      established. Defendant is deemed to have had knowledge of their duties at all
11      times relevant herein; their failure to carry out said duties as alleged, was
12      willful and knowing and/or the product of deliberate indifference.
13             114. Pursuant to the remedies, procedures, and rights set forth in Cal.
14      Civ. Code § 54.3(a), Plaintiff prays for statutory damages and attorneys’ fees
15      under Cal. Civ. Code § 54.3(a).1
16
17                                             PRAYER
18      WHEREFORE, Plaintiff respectfully requests that this Court:
19          1. Issue an injunction pursuant to the ADA and the Unruh Act ordering
20             Defendant to:
21                  a. Take the steps necessary to bring the public facilities at the Park
22                     into compliance with applicable federal and state accessibility
23                     standards and programmatic access requirements, and make
24                     them fully and equally available to individuals with mobility
25                     disabilities; and
26
27      1
         Damages are not recoverable under both the Unruh Act and the CDPA, see Cal. Civ. Code
28      § 54.3(c). For purposes of this action, if given the choice of recovery under both statutes,
        Plaintiff selects damages pursuant to the Unruh Act.


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 1                  b. Modify their policies and practices to ensure compliance with
 2                     new construction, alteration and maintenance standards and
 3                     program accessibility obligations at the Park moving forward.
 4         2. Award Plaintiff general, compensatory, and statutory damages in an
 5             amount within the jurisdiction of this court;
 6         3. Award Plaintiff attorneys’ fees, litigation expenses, and costs of suit, as
 7             provided by law; and
 8         4. Award such other and further relief as the Court deems just and proper.
 9
10
        Dated: August 1, 2022            LAW OFFICES OF MICHELLE UZETA
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12
13                                       By:    /s/ Michelle Uzeta
                                                Michelle Uzeta, Esq.
14                                              Attorney for Plaintiff
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        Complaint
